         Case 1:10-cr-00416-LJO Document 86 Filed 06/13/11 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   1:10-CR-416 LJO
                                                    )
12                         Plaintiff,               )   ORDER AUTHORIZING GOVERNMENT’S
                                                    )   OPPOSITION TO DEFENDANT’S MOTION
13                                                  )   SUPPRESSING WIRETAP EVIDENCE TO BE
                                    v.              )   PUBLICALLY FILED
14                                                  )
     SEGUNDO PINEDA-VIVEROS, et. al.,               )
15                                                  )
                           Defendants.              )
16                                                  )
                                                    )
17
18            The United States of America, by and through BENJAMIN B. WAGNER, United States
19   Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorney, having requested
20   permission to file its opposition to the defendant’s motion to suppress wiretap evidence in the public
21   record despite reference to sealed matters, and good cause appearing,
22            IT IS ORDERED that the Government’s Opposition to Defendant’s Motion Suppressing
23   Wiretap Evidence may be filed publically.
24   IT IS SO ORDERED.
25   Dated:      June 13, 2011                       /s/ Lawrence J. O'Neill
     b9ed48                                      UNITED STATES DISTRICT JUDGE
26
27
28


                                                        1
